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13                              UNITED STATES DISTRICT COURT

14                 NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

15 CALIFORNIA COALITION FOR WOMEN                             Case No. 4:23-cv-04155
     PRISONERS; R.B.; A.H.R.; S.L.; J.L.; J.M.; G.M.;
16   A.S.; and L.T., individuals on behalf of themselves      DECLARATION OF A
     and all others similarly situated,                       R     IN SUPPORT OF
17                                                            PLAINTIFFS’ MOTIONS FOR
                     Plaintiffs,                              PRELIMINARY INJUNCTION
18           v.                                               AND PROVISIONAL CLASS
                                                              CERTIFICATION
     UNITED STATES OF AMERICA FEDERAL
19   BUREAU OF PRISONS, a governmental entity;
     BUREAU OF PRISONS DIRECTOR COLETTE
20   PETERS, in her official capacity; FCI DUBLIN
     WARDEN THAHESHA JUSINO, in her official
21   capacity; OFFICER BELLHOUSE, in his individual
     capacity; OFFICER GACAD, in his individual
22   capacity; OFFICER JONES, in his individual
     capacity; LIEUTENANT JONES, in her individual
23   capacity; OFFICER LEWIS, in his individual
     capacity; OFFICER NUNLEY, in his individual
24   capacity, OFFICER POOL, in his individual capacity,
     LIEUTENANT PUTNAM, in his individual capacity;
25   OFFICER SERRANO, in his individual capacity;
     OFFICER SHIRLEY, in his individual capacity;
26   OFFICER SMITH, in his individual capacity; and
     OFFICER VASQUEZ, in her individual capacity,
27
                     Defendants.
28
     [4248319.4]                                                        Case No. 4:23-cv-04155
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 1
            I, A         R    , declare:
 2
            1.      I have personal knowledge of the facts set forth herein, and if called as a
 3
     witness, I could and would competently so testify. I make this declaration in support
 4
     Plaintiffs’ Motions for Preliminary Injunction and Provisional Class Certification.
 5
            2.      I am currently incarcerated at FCI Waseca. I was initially incarcerated at the
 6
     FCI Dublin satellite camp on January 5, 2023. I was placed in the SHU at FCI Dublin on
 7
     January 17, 2023. At the end of March 2023, I was transferred from Dublin. I arrived at
 8
     FCI Waseca in April 2023. At any point, BOP may transfer me to another BOP facility,
 9
     including back to FCI Dublin.
10
            3.      FCI Dublin’s inadequate systems for preventing, detecting, and responding
11
     to sexual abuse have caused actual harm to myself and others incarcerated at FCI Dublin
12
     and put myself and other incarcerated persons at substantial risk of imminent serious harm
13
     from sexual assault, harassment, and retaliation from staff.
14
            4.      On January 17, 2023, while housed in the camp, an incarcerated woman told
15
     me to clean the showers. I recognized her from when I self-surrendered and I think she
16
     thought I was a snitch just because I self-surrendered. I was in the phone room, so I said
17
     that I would clean the showers after I was done on the phone. Later, she ran towards me
18
     she began hitting me. I turned and pushed her away because I am newly incarcerated and I
19
     do not want to fight. Then, several of her friends joined in and continued to beat me up.
20
     After, I was put in a holding cell while awaiting SHU placement at FCI Dublin.
21
            5.      While in the holding cell, Officer Caston began to sexually harass me. I was
22
     sitting on the floor of the holding cell and could hear him tell another officer to “look at
23
     her big-ass titties.”
24
            6.      Officer Caston also refused to give me period products. As a result, I ended
25
     up bleeding through all of my clothes. Finally, a female officer came about an hour later
26
     and I showed her my bloody clothes. They were laughing and mocking me. Telling me I
27
     was being a crybaby and that I can just wait. The female officer did eventually issue me
28
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 1 new clothing and provide me with feminine hygiene products.
 2           7.    When he was transferring me from the holding cell to my cell in the SHU,
 3 Officer Caston groped me when he went to cuff me up, he rubbed his penis on my
 4 backside and reached around and grabbed my breast.
 5           8.    Several days later, during count, he told me to step out of the shower. I was
 6 saying no, waving my arm. He told me to step out, he started laughing at me, I said “you
 7 just want me to see me naked.”
 8           9.    Officer Caston continued to harass me in the days afterwards. He repeatedly
 9 banged on my door when he worked the night shift and I began to suffer the effects of
10 sleep deprivation. I once asked him for pencils and he refused to give them to me and
11 taunted me by telling me to write to SIS Officer Ferguson. Officer Caston also once told a
12 female officer to put me in handcuffs in front of two other officers. He told her to “slap
13 those cuffs on her,” I objected, and he told me to “shut the fuck up.”
14           10.   In addition, he implied that he would interfere with my outgoing mail, saying
15 “I hope they get out,” in reference to my letters. I attempted to send 12 letters and Officer
16 Caston just laughed and laughed. It appears that both my incoming and outgoing mail was
17 tampered with. I know my out mail was tampered at the very least, very few letters made
18 it out.
19           11.   Staff at FCI Dublin prevent people from reporting sexual assault and abuse
20 by staff and retaliate against people who do report. I did report the comment Officer
21 Caston made about my breasts and the lack of menstrual products to the SIS at the end of
22 January. I did not report him touching me, because I was scared of what retaliation I
23 would receive.
24           12.   Shortly after my report to SIS, I received word that I was found as the
25 aggressor for the time I was assaulted by other incarcerated people. This means that I had
26 to stay in the SHU for another thirty days and fine me by taking 50% of what is on my
27 books. I was also brutalized and subjected to a retaliatory transfer.
28           13.   In early March, on the day I was supposed to meet with my attorneys, I
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 1 thought they were trying to deny it and I became upset. Officer Papandes, was making fun
 2 of me. When it was time to go to the visit, he came in and arrested me and grabbed my
 3 forearm and my biceps. He was squeezing so hard, I had a bruise on my forearm. I told
 4 him the cuffs and black box was too tight; I had never been black boxed before, and he
 5 told me to “man up.” The Captain came and apologized. He said he was rough with me
 6 because he came from a men’s prison. They took it off before my attorney meeting, but I
 7 still have scars on my wrists right now. There’s five on my right arm, and two on my left.
 8         14.    Days after my attorneys filed an emergency request for administrative
 9 remedy on my behalf while I was still in the SHU, and just a day before BOP regional
10 counsel were set to visit FCI Dublin, I was transferred. I believe that BOP transferred me
11 to avoid me speaking to regional counsel. Another girl in the SHU, told me that she heard
12 them say, in reference to the transfer list, “add her to the list because region’s coming
13 tomorrow.” I also believe that I was a last-minute addition because my name was always a
14 “write-in” during my weeks long transfer process. The transfer itself was awful, it took
15 over two weeks, and I was black-boxed for part of the time and placed in a cage.
16         15.    When I arrived at FCI Dublin in January 2023 I was given no PREA
17 training. There were no PREA signs in the SHU at FCI Dublin. In comparison, at
18 Waseca, there are OIG and PREA signs everywhere.
19         16.    When incarcerated persons report sexual assault and abuse by staff, FCI
20 Dublin and BOP do not seriously investigate the reports. Investigations are frequently
21 delayed and overseen by staff who know and work with the offending staff member.
22 Generally nothing happens as a result. Although Officer Caston was removed from the
23 SHU following my report, my understanding is that he still works at Dublin.
24         17.    There is very little confidential mental health care available to survivors of
25 sexual abuse and assault at FCI Dublin. My abuse in the SHU triggered extreme anxiety,
26 and I was put on antidepressant medication (Lexapro and Prozac) for the first time in my
27 life. Since arriving at FCI Waseca, other than being told that there is a weekly open house
28 for psychology, I have not received any mental health support.
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